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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DMSION

                                                 )
 DONNA CURLING, et aL                            )
                                                 )
 Plaintiff,                                      )
                                                 )   CIVIL ACTION FILE NO.: 1:17-cv-
 vs.                                             )   2989-AT
                                                 )
 BRAD RAFFENSPERGER, et aL                       )
                                                 )
 Defendant.                                      )
                                                 )
---------------)
                    DECLARATION OF RICARDO DA VIS

          RICARDO DA VIS hereby declares under penalty of perjury,

pursuant to 28 U.S.C. § 1746, that the following is true and correct:


1. I have personal knowledge of the facts stated in this declaration, and if

       called to testify, I could and would testify competently thereto.

2. I am a Cherokee County voter. My home precinct is the Air Acres

       precinct in Woodstock, Georgia. That has been my home precinct for 23

       years.

3. I make every effort to participate in all elections for which I am eligible

       to vote.

4. Attached at Exhibit 1 is a true and correct copy of my voter participation

       history as it appears on my MVP page of the SOS website today.




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 5. My history of participation at Exhibit 1 accurately shows that I generally

    vote by mail ballot. However, I voted in person on Election Day on

    December 6, 2022 on the BMD system, as is shown on the SOS record.

 6. My long-standing practice has been to vote by mail ballot rather than

    voting on insecure touchscreen machines, despite the planning and ballot

    monitoring efforts I must undertake to ensure that my mail ballot is

    issued, returned and accepted for counting on a timely basis. For

    example, to ensure that my ballot is received timely and securely, I hand

    deliver my mail ballot in almost every election requiring a round trip

    drive of approximately 8 miles. This requires my leaving my office

    during business hours to band deliver the ballot.

7. I am very politically active and spend hundreds of hours each year to

   encourage voting, recruiting candidates, supporting campaigns, and

   supporting election oversight activities. My strong preference would be to •

   vote at a neighborhood polling place with my friends and neighbors and be

   seen setting the example of civic engagement of voting if the voting

   method were secure.

8. However, this association with other voters in the polling place is

   unfortunately something I give up so I can vote with a more secure and

   private ballot-a   mail absentee ballot.




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9. Until such time as I can vote a private and secure hand marked paper ballot

   in the polling place, my plans will be to continue to cast as many of my

   votes by mail ballot as possible.

 Executedon this date, January 30, 2023                               ~

                                           ~~~=--...
                                              Riardol}avis




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         Voter Participation History
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                      Information on Georgia's My Voter Page will reflect your local Elections & Registration
                      Office's database within 24 hours of an update by a county official.




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              9:;:<=>6?@:AB=>
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              7L65M65755%9:;:<=>                   L65M65755             9.).$+G%@$(3+$1
              @<BN=<!6?@:AB=>
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              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              O=;E=<!%LP%5754                      46M65754              9.).$+G%:G.H'(")
              F:Q:<=>%<E;DFF                                             $#)"I
              :>:ACBD;

              3+""'%)012#
              =K0.)'..%K1%3+(G




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              ;DR:NS:<%TP%5757                     446565757             9.).$+G
              9:;:<=>6?@:AB=>
              :>:ACBD;

              3+""'%)012#
              =K0.)'..%K1%3+(G




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              =E9E?C%44P%5757                      J64765757             9.).$+G%@$(3+$1
              9:;U%@<BU%<D69:;U                                          $#)"I
              ;@%<76?@:AU%<D%:>

              3+""'%)012#
              =K0.)'..%K1%3+(G



              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
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              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              OE;:%VP%5757%9:;U                    86865757              9.).$+G%@$(3+$1
              @<BU69:;U%;@6?@:AU
              :>:ACBD;

              3+""'%)012#
              =K0.)'..%K1%3+(G




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              Q:A:NS:<%MP%574J                     4465W6574J            9.).$+G%:G.H'(")
              ?C=C:%=;Q%>DA=>                                            $#)"I
              :>:ACBD;%<E;DFF

              3+""'%)012#
              =K0.)'..%K1%3+(G




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              ;DR:NS:<%8P%574J                     44656574J             9.).$+G
              9:;:<=>6?@:AB=>
              :>:ACBD;

              3+""'%)012#
              =K0.)'..%K1%3+(G




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              OE>!%5MP%574J%9:;U                   W65M6574J             9.).$+G%@$(3+$1
              @<BU%<D69:;U%;@                                            $#)"I
              <76?@:AU%<D%:>

              3+""'%)012#
              <.*#G+$



              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
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              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              N=!%55P%574J%9:;U                    L6546574J             9.).$+G%@$(3+$1
              @<BU69:;U%;@6?@:AU
              :>:ACBD;

              3+""'%)012#
              =K0.)'..%K1%3+(G




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              ;DR:NS:<%WP%574W                     446W6574W             9.).$+G
              9:;:<=>6?@:AB=>
              :>:ACBD;

              3+""'%)012#
              <.*#G+$




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              ;DR:NS:<%JP%5748                     446W65748             9.).$+G
              9:;:<=>6?@:AB=>
              :>:ACBD;

              3+""'%)012#
              =K0.)'..%K1%3+(G




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              N=<AX%4P%5748                        T6465748              @@@
              @@@6?@:AB=>
              :>:ACBD;

              3+""'%)012#
              <.*#G+$



              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
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              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              9:;UY?@:AU                           446M6574M             9.).$+G
              :>:ACBD;

              3+""'%)012#
              =K0.)'..%K1%3+(G




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              9:;U%@<BU                            W64J6574M             9.).$+G%@$(3+$1
              <E;DFFY9:;U%;@                                             $#)"I
              <E;DFFY?@:A
              <E;DFF%:>:AU

              3+""'%)012#
              :+$G1%B)Z@.$0")




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              9:;U%@<BUY9:;U                       L6486574M             9.).$+G%@$(3+$1
              ;@Y?@:A%:>:ACBD;

              3+""'%)012#
              =K0.)'..%K1%3+(G




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              ?@:AB=>                              56L6574T              ?-.H(+G%:G.H'(")

              3+""'%)012#




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
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              !"#$%&'()*+,#                        -+%#).'%#/           !"#$%&'()012#
              ?@:AB=>                              446865745            ?-.H(+G%:G.H'(")

              3+""'%)012#
              <.*#G+$




              !"#$%&'()*+,#                        -+%#).'%#/           !"#$%&'()012#
              ?@:AB=>                              J65465745            ?-.H(+G%:G.H'(")

              3+""'%)012#
              <.*#G+$




              !"#$%&'()*+,#                        -+%#).'%#/           !"#$%&'()012#
              ?@:AB=>                              W6T465745            ?-.H(+G%:G.H'(")

              3+""'%)012#
              <.*#G+$




              !"#$%&'()*+,#                        -+%#).'%#/           !"#$%&'()012#
              ?@:AB=>                              446J65744            ?-.H(+G%:G.H'(")

              3+""'%)012#
              <.*#G+$




              !"#$%&'()*+,#                        -+%#).'%#/           !"#$%&'()012#
              9:;:<=>%@<BN=<!                      J64765747            9.).$+G%@$(3+$1
              <E;ZDFF                                                   $#)"I

              3+""'%)012#
              <.*#G+$



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              !"#$%&'()*+,#                        -+%#).'%#/           !"#$%&'()012#
              9:;:<=>%@<BN=<!                      W65765747            9.).$+G%@$(3+$1

              3+""'%)012#
              <.*#G+$




              !"#$%&'()*+,#                        -+%#).'%#/           !"#$%&'()012#
              9:;:<=>%<E;ZDFF                      45656577J            9.).$+G%:G.H'(")
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              <.*#G+$




              !"#$%&'()*+,#                        -+%#).'%#/           !"#$%&'()012#
              9:;:<=>                              446M6577J            9.).$+G

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              !"#$%&'()*+,#                        -+%#).'%#/           !"#$%&'()012#
              ?@:AB=>                              W64L6577J            ?-.H(+G%:G.H'(")

              3+""'%)012#
              <.*#G+$




              !"#$%&'()*+,#                        -+%#).'%#/           !"#$%&'()012#
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              @<:?BQ:;CB=>                         56L6577J             @@@
              @<BN=<!

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              !"#$%&'()*+,#                        -+%#).'%#/           !"#$%&'()012#
              9:;:<=>                              446W65778            9.).$+G

              3+""'%)012#
              <.*#G+$




              !"#$%&'()*+,#                        -+%#).'%#/           !"#$%&'()012#
              9:;:<=>%@<BN=<!                      J6J65778             9.).$+G%@$(3+$1
              <E;ZDFF                                                   $#)"I

              3+""'%)012#
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              !"#$%&'()*+,#                        -+%#).'%#/           !"#$%&'()012#
              9:;:<=>%@<BN=<!                      W64J65778            9.).$+G%@$(3+$1

              3+""'%)012#
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              9:;:<=>%@<BN=<!                      J6476577M             9.).$+G%@$(3+$1
              <E;ZDFF                                                    $#)"I

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              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              9:;:<=>%@<BN=<!                      W6576577M             9.).$+G%@$(3+$1

              3+""'%)012#
              <.*#G+$




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              @<:?BQ:;CB=>                         T656577M              @@@
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              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              9:;:<=>                              446L65775             9.).$+G

              3+""'%)012#
              <.*#G+$




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              9:;:<=>%@<BN=<!                      V64765775             9.).$+G%@$(3+$1
              <E;ZDFF                                                    $#)"I

              3+""'%)012#
              <.*#G+$




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              9:;:<=>%@<BN=<!                      J65765775             9.).$+G%@$(3+$1

              3+""'%)012#
              <.*#G+$




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              ?@:AB=>                              465565775             ?-.H(+G%:G.H'(")

              3+""'%)012#
              <.*#G+$




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              ?@:AB=>                              V64J65774             ?-.H(+G%:G.H'(")

              3+""'%)012#
              <.*#G+$




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              9:;:<=>%<E;ZDFF                      4465J65777            9.).$+G%:G.H'(")
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              9:;:<=>                              446W65777             9.).$+G

              3+""'%)012#
              <.*#G+$




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              9:;:<=>%@<BN=<!                      W64J65777             9.).$+G%@$(3+$1

              3+""'%)012#
              <.*#G+$




              !"#$%&'()*+,#                        -+%#).'%#/            !"#$%&'()012#
              @<:?BQ:;CB=>                         T6W65777              @@@
              @<BN=<!

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              <.*#G+$




              4#%&%&'()*+,#                        4#%&%&'()012#         5'6(%1)*+,#
              V64W654%?D?                          <.H+GG%=--G(H+'(")    AX:<D[::
              <=FF:;?@:<9:<
              <:A=>>%=@@

              -+%#)7$$'6(%#/
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